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                                                                                                                         RVP / ALL
                                                                                                       Transmittal Number: 9855737
Notice of Service of Process                                                                             Date Processed: 04/27/2012

Primary Contact:           Davena Morgan
                           Golden Living
                           1000 Fianna Way
                           Fort Smith, AR 72919

Copy of transmittal only provided to:         Ms. Amy Nguyen
                                              Brenda Boster
                                              Ms. Lisa Lowther

Entity:                                       GGNSC Louisville Camelot LLC
                                              Entity ID Number 2498220
Entity Served:                                GGNSC Louisville Camelot, LLC d/b/a Golden Living Center-Camelot
Title of Action:                              Gloria Suzanne Coke, Executor of the Estate of Gloria Neff vs. GGNSC
                                              Louisville Camelot, LLC d/b/a Golden Living Center-Camelot
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Wrongful Death
Court/Agency:                                 Jefferson County Circuit Court, Kentucky
Case/Reference No:                            12CI02373
Jurisdiction Served:                          Kentucky
Date Served on CSC:                           04/27/2012
Answer or Appearance Due:                     20 Days
Originally Served On:                         CSC
How Served:                                   Certified Mail
Sender Information:                           Jeffrey T. Sampson
                                              502-584-5050

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                To avoid potential delay, please do not send your response to CSC
                              CSC is SAS70 Type II certified for its Litigation Management System.
                         2711 Centerville Road Wilmington, DE 19808 (888) 690-2882 | sop@cscinfo.com
           Case 3:12-cv-00251-JGH Document 1-2 Filed 05/16/12 Page 2 of 16 PageID #: 8


AOC-105                Summons Type: CI
Rev. 11-95                                                                       Case NO.________

Commonwealth of Kentucky                                                         Court___________
Court of Justice
                                                                              CountYEFFJeffersqar1      lITT rr~l

CR 4.02; CR Official Form 1                         CIVIL SUMMONS                        DIVISION THREE (3)

Gloria Suzanne Coke, Executrix of the
Estate of Gloria Neff, Deceased                                      PLAINTIFF


GGNSC Louisville Camelot, LLC
dibla Golden Living Center - Camelot                                 DEFENDANT
                 Serve:       CSC Lawyers Incorporating Service Company
                              421 West Main Street
                              Frankfort, Kentucky 40601

THE COMMONWEALTH OF KENTUCKY
TO THE ABOVE-NAMED DEFENDANTS:

     You are hereby notified that a legal action has been filed against you in this court demanding relief as
shown on the document delivered to you with this summons. Unless a written defense is made by you or by
an attorney on your behalf and filed in the clerk's office within 20 days following the day this paper is delivered
to you. judgment by default may be taken against you for the relief demanded in the attached complaint.

      The name(s) and address(es) of the party or parties demanding such relief against you or his (their)
attorney(s) are shown on the document delivered to you with this summons.
                ADR
          ______________2_
                             2602DDC          _         Clrk
                                                                           .NIHLO
                                                                            C02AICU. ITCORLON

               Date:-t                                                                  14                   D.C.


                                                  PROOF OF SERVICE

    This summons was served by delivering a true copy and the complaint (or other initiating document) to:



This ______day of _________________                                 _, 20




                                                           Served By:
Case 3:12-cv-00251-JGH Document 1-2 Filed 05/16/12 Page 3 of 16 PageID #: 9




 NO.                                                   JEIFFERSON CIRCUIT COURT
                                                                    ~DTVSLOSJCfIITr.OURT
                                                                         DJVLSIOiN THREE (3)

 GLORIA SUZANNE COKE, EXECUTOR
 OF THE ESTATE OF GLORIA NEFF, DECEASED                                       PLAINTIFF


                                       COMPLAINT


 GGNSC LOUISVILLE CAMELOT, LLC
 dlbla GOLDEN LIVING CENTER - CAMELOT                                        DEFENDANT

        Serve:          CSC-Lawyers Incorporating Service Co.
                        421 West Main Street
                        Frankfort, Kentucky 40601

        Comes the Plaintiff, Gloria Suzanne Coke, Executrix of the Estate of Gloria Neff,

Deceased and for her causes of action against Defendant states as follows:

        1.       Gloria Suzanne Coke brings this action pursuant to the Survival of Actions

Statute (K.R.S. § 411.140) and the Wrongful Death Statute (K.R.S. § 411.130).

       2.        Gloria Suzanne Coke is the daughter of Gloria Neff, and a resident of

Louisville, Jefferson County, Kentucky.

       3.        Gloria Suzanne Coke is the Executor of the Estate of Gloria Neff pursuant

to the Order probating the Last Will and Testament of Gloria Neff and appointing her

Executrix, Jefferson County District Court, Probate Division, Case No. 11-P-001914, and

therefore brings this action on behalf of the Estate of Gloria Neff. A copy of the

Certificate of Qualification, dated May 10, 2011, is attached hereto marked as Exhibit A.

       4.        Upon information and belief, Gloria Neff was admitted as a resident of

Golden Living Center     -   Camelot located at 1101 Lyndon Lane, Louisville, Kentucky

40222-4317 on February 18, 2009. Gloria Neff remained a resident there until she was

transported on December 17, 2010 to Baptist Hospital East where she ultimately died on
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December 25, 2010 as a result of the substandard care she received while a resident of

Golden Living Center - Camelot.

         5.       The Defendant, GGNSC Louisville Camelot, LLC d/b/a Golden Living

Center   -    Camelot is a foreign limited liability company organized under the laws of

Delaware authorized to do business in the Commonwealth of Kentucky, with its principal

office located at 10 1 Lyndon Lane, Louisville, Kentucky 40222. Upon infornation and

belief, at all times material to this action, Defendant GGNSC Louisville Camelot, LLC

owned, operated, managed, controlled, and/or provided services for Golden Living

Center   -    Camelot in Louisville, Jefferson County, Kentucky.    Upon information and

belief, Defendant GGNSC Louisville Camelot, LLC was, at all times material to this

action, the "licensee" of the nursing facility. Under the laws and regulations promulgated

and enforced by the Cabinet for Health and Family Services, as licensee of the facility,

GGNSC Louisville Camelot, LLC was legally responsible for that facility and for

ensuring compliance with all laws and regulations related to the operation of the facility.

The causes of action made the basis of this suit arise out of such business conducted by

said Defendant, GGNSC Louisville Camelot, LLC in the ownership, operation,

management, control, licensing and/or services provided for the facility during the

residency of Gloria Neff. The registered agent for service of process is CSC-Lawyers

Incorporating Service Co., 421 West Main Street, Frankfort, Kentucky 40601.

         6.       The Defendant controlled the operation, planning, management, budget

and quality control of Golden Living Center      -   Camelot.   The authority exercised by

Defendant over the nursing facility included, but was not limited to, control of marketing,

human resources management, training, staffing, creation, and implementation of all
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policies and procedures used by nursing facilities in Kentucky, federal and state

reimbursement, quality care assessment and compliance, licensure and certification, legal

services, and financial, tax and accounting control through fiscal policies established by

Defendant.

        7.      Jurisdiction and venue are proper in this Court.

                               FACTUAL ALLEGATIONS

        8.      Gloria Neff was a resident of Golden Living Center           -   Camelot from

February 18, 2009 until shortly before her death on December 25, 2010.

        9.      Gloria Neff was looking to Defendant for treatment of her total needs for

custodial, nursing and medical care and not merely as a site where others not associated

with the facility would treat her.

        10.    At all relevant times mentioned herein, the Defendant owned, operated,

managed and/or controlled Golden Living Center        -   Camelot, either directly, through a

joint enterprise, partnership and/or through the agency of each other and/or other diverse

subaltemns, subsidiaries, governing bodies, agents, servants or employees.

        11.    Defendant is directly or vicariously liable for any acts and omissions by

any person or entity, controlled directly or indirectly, including any governing body,

officer, employee, ostensible or apparent agent, partner, consultant or independent

contractor, whether in-house or outside individuals, entities or agencies.

        12.    Defendant failed to discharge their obligations of care to Gloria Neff with

a conscious disregard for her rights and safety. At all times mentioned herein, Defendant,

through its corporate officers and administrators, had knowledge of, ratified and/or

otherwise authorized all of the acts and omissions that caused the injuries suffered by
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Gloria Neff, as more fully set forth below. Defendant knew that this facility could not

provide the minimum standard of care to the weak and vulnerable residents of Golden

Living Center - Camelot.

        13.     Due to the wrongful conduct of Defendant, Gloria Neff suffered

accelerated deterioration of her health and physical condition beyond that caused by the

normal aging process, as well as the following injuries:

        a)      Urinary tract infection;

        b)      Sepsis;

        c)      Respiratory failure; and

        d)      Death.

                                       NEGLIGENCE

        14.     Plaintiff re-alleges    and incorporates    the    allegations   contained   in

Paragraphs 1 - 13 as if fully set forth herein.

        15.    Defendant owed a non-delegable duty to Gloria Neff to provide the

custodial care, services and supervision that a reasonably careful nursing home would

provide under similar circumstances.

        16.     Upon information and belief, Defendant knowingly developed and

maintained staffing levels at the facility in disregard of patient acuity levels as well as the

minimal time to perform the essential functions of providing care to Gloria Neff.

        17.    Defendant negligently failed to deliver care, services and supervision,

including, but not limited to, the following acts and omissions:

               a)         Failure by the members of the governing body of the facility to
                          discharge their legal and lawful obligation by:

                          I1)    ensuring that the rules and regulations designed to protect
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                            the health and safety of the residents, such as Gloria Neff,
                            as promulgated by the Cabinet for Health and Family
                            Services, Division of Long Term Care;

                    2)      ensuring compliance with the resident care policies for the
                            facility; and

                    3)      ensuring that appropriate corrective measures were
                            implemented to correct problems concerning inadequate
                            resident care.

            b)      Failure to provide a facility that was sufficiently staffed with
                    personnel that was properly qualified and trained;

            c)      Failure to provide the minimum number of qualified personnel to
                    meet the total needs of Gloria Neff;

            d)      Failure to maintain all records on Gloria Neff in accordance with
                    accepted professional standards and practices:

            e)      Failure to ensure that Gloria Neff received adequate and proper
                    nutrition, fluids, supervision, therapeutic, and skin care;

                 f) Failure to increase the number of personnel at the facility to ensure
                    that Gloria Neff received timely and appropriate custodial care,
                    including, but not limited to, bathing, grooming, incontinent care,
                    personal attention and care to her skin, feet, nails, and oral
                    hygiene;

            g)      Failure to have in place adequate guidelines, policies and
                    procedures of the facility and to administer those policies through
                    enforcement of any rules, regulations, by-laws or guidelines;

            h)      Failure to take all necessary and reasonable custodial measures to
                    prevent the onset and progression of pressure sores during Gloria
                    Neff s;

            i)      Failure to monitor or increase the number of nursing personnel at
                    the facility to ensure that Gloria Neff:

                     1)     received timely and accurate care assessments;

                    2)      received prescribed treatment, medication and diet; and

                    3)      received timely custodial, nursing and medical intervention
                            due to a significant change in condition.
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                j)      Failure to take reasonable steps to prevent, eliminate and correct
                        deficiencies and problems in resident care at the facility;

                k)      Failure to provide a safe environment for care, treatment and
                        recovery, and to exercise ordinary care and attention for the safety
                        of Gloria Neff in proportion to her particular physical and mental
                        ailments, known or discoverable by the exercise of reasonable skill
                        and diligence;

                1)      Failure to provide adequate hygiene and sanitary care to prevent
                        infection; and

                mn)     Failure to provide proper custodial care.

        18.     A reasonably careful nursing facility would not have failed to provide the

care listed above. It was foreseeable that these breaches of ordinary care would result in

serious injuries to Gloria Neff. With regard to each of the foregoing acts of negligence,

Defendant acted with oppression, fraud, malice or was grossly negligent by acting with

wanton or reckless disregard for the health and safety of Gloria Neff.

        19.     Pursuant to KIRS 446.070, Plaintiff also alleges Defendant violated

statutory and regulatory duties of care, the violations of which are actionable as

negligence per se. Gloria Neff was injured by the statutory violations of Defendant and

was within the class of persons for whose benefit the statutes were enacted and who was

intended to be protected by these statutes. The negligence per se of Defendant included,

but is not limited to, violation(s) of the following:

                a)      Violation(s) of KRS 209.005 et seq. and the regulations
                        promulgated thereunder, by abuse, neglect and/or exploitation of
                        Gloria Neff,
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                b)     Violation(s) of KRS 508.090 et seq., criminal abuse, by
                       committing intentional, wanton or reckless abuse of Gloria Neff,
                       who was physically helpless or mentally helpless or permitting
                       Gloria Neff, a person of whom Defendant had actual custody, to be
                       abused. Such abuse caused serious physical injury, placed Gloria
                       Neff in a situation that might cause her serious physical injury,
                       and/or caused torture, cruel confinement or cruel punishment of
                       Gloria Neff.

               c)      Violation(s) of KRS 530.080 et seq., endangering the welfare of an
                       incompetent person, by knowingly acting in a manner which
                       resulted in an injury to the physical and/or mental welfare of
                       Gloria Neff, who was unable to care for herself because of her
                       illness;

               d)      Violation(s) of KRS 506.080, criminal facilitation of criminal
                       act(s), by acting with knowledge that another person or entity was
                       committing one or more of the foregoing criminal acts or intending
                       to commit one or more of the foregoing criminal acts, and engaged
                       in conduct which knowingly provided another person or entity the
                       means or opportunity for the commission of such criminal act(s)
                       and which in fact aided another person or entity to commit the
                       criminal act(s); and/or

               e)      Violation(s) of the statutory standards and requirements governing
                       licensing and operation of long-term care facilities as set forth by
                       the Cabinet for Health and Famnily Services, pursuant to provisions
                       of KRS Chapter 216 and the regulations promulgated thereunder,
                       as well as the applicable federal laws and regulations governing the
                       certification of long-term care facilities under Titles XVIII or XIX
                       of the Social Security Act.

       20.     As a direct and proximate result of such grossly negligent, wanton or

reckless conduct, Gloria Neff suffered the injuries described in Paragraph 13. Plaintiff

asserts a claim for judgment for all compensatory and punitive damages against the

Defendant including, but not limited to, medical expenses, pain and suffering, mental

anguish, disability, disfigurement and loss of life, in an amount to be determined by the

jury, but in excess of the minimum jurisdictional limits of this Court and exceeding that

required for federal court jurisdiction in diversity of citizenship cases, plus costs and all
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 other relief to which Plaintiff is entitled by law.

                               CORPORATE NEGLIGENCE

         20.     Plaintiff re-alleges    and   incorporates   the allegations   contained   in

 Paragraphs I - 19 as if fully set forth herein.

         21.     Gloria Neff was looking to Defendant's facility for treatment of her

 physical ailments and not merely as the situs where others not associated with the facility

 would treat her for her problems. There is a presumption that the treatment Gloria Neff

 received was being rendered through employees of Defendant and that any negligence

 associated with that treatment would render Defendant responsible. Defendant or persons

 or entities under their control, or to the extent Defendant were vicariously liable through

 the ostensible or apparent agency of others, owed a non-delegable duty to residents,

 including Gloria Hoffmnan, to use the degree and skill which is expected of reasonably

 competent medical practitioners acting in the same or similar circumstances.

        22.     Defendant owed a non-delegable duty to assist Gloria Neff in attaining

 and maintaining the highest level of physical, mental and psychological well-being.

        23.     Defendants owed a duty to Gloria Neff to maintain their facility; including

providing and maintaining medical equipment and supplies; and hiring, supervising and

retaining nurses and other staff employees.

        24.    Defendant owed a duty to Gloria Neff to have in place procedures and

protocols that properly care for residents and to administer these policies through

enforcement of any rules, regulations, by-laws or guidelines, which were adopted by

Defendant to insure smoothly run facilities and adequate resident care.

       25.     Defendant owed a duty to Gloria Neff to provide a safe environent,
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 treatment and recovery, and to exercise ordinary care and attention for the safety of

 residents in proportion to the physical and mental ailments of each particular resident,

 known or discoverable by the exercise of reasonable skill and diligence. The duty of

 reasonable care and attention extended to safeguarding Gloria Neff from danger due to

 her inability to care for herself. Defendant had a duty to protect Gloria Neff from any

 danger which the surroundings would indicate might befall her in view of any peculiar

 trait exhibited by her or which her mental condition or aberration would suggest as likely

 to happen.

         26.     With regard to each of the foregoing acts of negligence, Defendant acted

 with oppression, fraud, malice, or was grossly negligent by acting with wanton or

 reckless disregard for the health and safety of Gloria Neff.

        27.      As a direct and proximate result of such oppression, fraud, malice, or

 gross negligence, Gloria Neff suffered the injuries described herein. Plaintiff asserts a

 claim for judgment for all compensatory and punitive damages against Defendant

 including, but not limited to, medical expenses, pain and suffering, mental anguish,

 disfigurement, hospitalization, unnecessary loss of personal dignity, and loss of life, in an

 amount to be determined by the jury, but in excess of the minimum jurisdictional limits

 of this Court and exceeding that required for federal court jurisdiction in diversity of

 citizenship cases, plus costs and all other relief to which Plaintiff is entitled by law.

        VIOLATIONS OF LONG TERM CARE RESIDENT'S RIGHTS

        28.     Plaintiff re-alleges     and incorporates     the allegations     contained   in

 Paragraphs I - 27 as if fully set forth herein.
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         29.     Defendant violated statutory duties owed to Gloria Neff as a resident of a

 long term care facility, Kentucky Revised Statutes 216.5 10 et seq. These statutory duties

 were non-delegable.

         30.     The violations of the resident's rights of Gloria Neff include:

                 a)      Violation of the right to be treated with consideration, respect, and
                         full recognition of her dignity and individuality;

                 b)      Violation of the right to have a responsible party or family member
                         or her guardian notified immediately of any accident, sudden
                         illness, disease, unexplained absence, or anything unusual
                         involving the resident;

                 c)     Violation of the right to have an adequate and appropriate resident
                        care plan developed, implemented and updated to meet her needs;

                 d)     Violation of the right to be fr~ee from abuse and neglect; and

                 e)     Violation of the statutory standards and requirements governing
                        licensing and operation of long-term care facilities as set forth by
                        the Cabinet for Health and Family Services, pursuant to provisions
                        of K.R.S. Chapter 216 and the regulations promulgated thereunder,
                        as well as the applicable federal laws and regulations governing the
                        certification of long-term care facilities under Titles XVIII or XIX
                        of the Social Security Act.

         31.    As a result of the aforementioned violations of the Resident's Rights

 Statutes by Defendant, pursuant to K.R.S. § 216.5 15(26), Plaintiff is entitled to recover

 actual damages in an amount to be determined by the jury, but in excess of the minimum

jurisdictional limits of this Court and exceeding that required for federal court jurisdiction

 in diversity of citizenship cases, as well as costs and attorney's fees.

         32.    With regard to the aforementioned violations of the Resident's Rights Act,

 Defendant acted with oppression, fraud, malice, or was grossly negligent by acting with

 wanton and reckless disregard for the rights of Gloria Neff and, pursuant to K.R.S. §

 216.5 15(26), Plaintiff is entitled to punitive damages from Defendant in an amount to be
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 determined by the jury, but in excess of the minimum jurisdictional limits of this Court

 and exceeding that required for federal court jurisdiction in diversity of citizenship cases,

 as well as costs and attorney's fees.

                                   WRONGFUL DEATH

         33.     Plaintiff re-alleges    and   incorporates   the allegations   contained in

 Paragraphs 1 - 32 as if fully set forth herein.

         34.     As a direct and proximate result of the previously alleged conduct, all of
                                                                                 of
 which was grossly negligent, wanton or reckless, the Defendant caused the death

 Gloria Neff by their wrongful conduct.

        35.     Gloria Neff suffered personal injuries, including excruciating pain and
                                                                                      of
 suffering, mental anguish, and emotional distress. The pain, disfigurement, and loss

 dignity suffered by Gloria Neff caused her family to suffer more than normal grief upon

 her death.

        36.     As a direct and proximate result of such the wrongful death suffered by

 Gloria Neff, Plaintiff asserts a claim for judgment for all compensatory and punitive

 damages against Defendant including, but not limited to, medical expenses, funeral

 expenses and other related costs, pain and suffering, the grief suffered by statutory
                                                                                          by
 beneficiaries, mental anguish, disability and loss of life in an amount to be determined

 the jury, but in excess of the minimum jurisdictional limits of this Court and exceeding
                                                                                         as
 that required for federal court jurisdiction in diversity of citizenship cases, as well

 costs and attorney's fees, plus costs and all other relief to which Plaintiff is entitled by

 law.
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                                           DAMAGES

         37.        Plaintiff re-alleges   and incorporates     the allegations     contained   in

 Paragraphs I - 36 as if fully set forth herein.

         38.        As a direct and proximate result of the negligence of Defendant as set out

 above, Gloria Neff suffered injuries including, but not limited to, those listed herein. As

 a result, Gloria Neff suffered embarrassment, physical impairment, and death.

         39.        Plaintiff seeks punitive and compensatory damages against Defendant in

 an amount to be determined by the jury, plus costs and all other relief to which Plaintiff is

 entitled by law.

                                    REQUEST FOR RELIEF

          WHEREFORE, Plaintiff Gloria Suzanne Coke, Executrix of the Estate of

 Gloria Neff, deceased, and on behalf of the wrongful death beneficiaries of Gloria Neff,

 prays for judgment against Defendant in an amount to be determined from the evidence,

 the costs herein expended, and all other relief to which Plaintiff is entitled, including

 TRIAL BY JURY.

                                                   Respectfully submitted,




                                                   THE SAM SON LAWFIRM
                                                   450 South Third Street, 4 th Floor
                                                   Louisville, Kentucky 40202
                                                   (502) 584-5050

                                                   Attorney for Plainti~ff
                                                                    ZI POD 19 14
        Case 3:12-cv-00251-JGH Document 1-2 Filed 05/16/12 Page 15 of 16 PageID #: 21


AOC-056-1 1                                                               Cs      o   ________

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Rev. 12-87
Commonwealth of KentuckyConyJfes,
Court of Justice                                                                                 Probate
                                          CERTIFICATE                     Court District
                                         OF QUALIFICATION




In Re: Estate of    Gloria Neff

       Proper petition having been filed and the Court having appointed       Gloria Suzanne Coke

as    EXECUTRIX -of the above estate on the     ____ ay1o                01                        2-0-11, and the

                                                                                    the amount fixed, with.
fiduciary having filed in Court bond in the sum of $        NO

o~                         as surety, which was approed by the Court, said fiduciary was thereupon

sworn as required by law and thus qualified on the above date.
                                                                                MAY 10 2011
      The above Order and Qualification is in full force and effect this_______________

                                                          Ats:CERTIFIED COPY OF RECORD                            Clerk
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                                                               AttstJIFEROIJ f~I IC CURT
                                                          By     , V L         OLSON, CLERK
                                                                                                           D.C.
             Case 3:12-cv-00251-JGH Document 1-2 Filed 05/16/12 Page 16 of 16 PageID #: 22




TH            DAVID   L.   Nich[OLSON
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              JEFFERSON COUNTY CIRCUIT C
              CIRCUIT COURT DIVISION                                       I
    jLouis            D. BRANDEIS HLOF      JU                                                                         N'VIW

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